                                           Case 4:20-cv-07987-JST Document 50 Filed 08/11/22 Page 1 of 1




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                                   4                                   UNITED STATES DISTRICT COURT

                                   5                                  NORTHERN DISTRICT OF CALIFORNIA

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                                   7    SECURITIES AND EXCHANGE                           Case No. 20-cv-07987-JST
                                        COMMISSION,
                                   8                     Plaintiff,                       ORDER OF REFERENCE TO
                                   9                                                      MAGISTRATE JUDGE FOR
                                                v.                                        SETTLEMENT
                                  10
                                        CARRIE L. TOLSTEDT,
                                  11                     Defendant.
                                  12
Northern District of California
 United States District Court




                                  13          Pursuant to Local Rule 72-1, this matter is referred to Magistrate Judge Susan van Keulen

                                  14   for settlement.

                                  15          The parties will be advised of the date, time and place of the next appearance by notice

                                  16   from Magistrate Judge van Keulen.

                                  17          IT IS SO ORDERED.

                                  18   Dated: August 11, 2022

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                                                                                      JON S. TIGAR
                                  20                                                  United States District Judge
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